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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

                                                )
I PEE HOLDING, LLC,                             )
                                                )       Civil Action No. 1:18-cv-01564-AJT-TCB
                               Plaintiff,       )
               v.                               )       MEMORANDUM IN SUPPORT OF
                                                )       VIRGINIA TOY AND NOVELTY
VIRGINIA TOY AND NOVELTY                        )       COMPANY’S MOTION TO DISMISS OR, IN
COMPANY,                                        )       THE ALTERNATIVE, MOTION FOR
                                                )       JUDGMENT ON THE PLEADINGS
                               Defendant.       )
                                                )

       Pursuant to Fed. R. Civ. P. 12, Defendant, Virginia Toy and Novelty Company

(“VTC”) by and through its attorneys, respectfully moves this Court to dismiss the Complaint

of I Pee Holding, LLC (“IPH”) or, in the alternative, moves this Court for judgment as a matter

of law based on the Amended Counterclaim’s assertions of non-infringement and invalidity of

the Asserted Claims under 35 U.S.C. §§ 271(a)/(b)/(c), 102, and 103, as set forth herein and as

supported by the accompanying declaration of Joseph A. Farco (“Farco Decl.”) and Exhibits

A-E, all of which being publically-available records.

I.     INTRODUCTION

       IPH alleges that certain of VTC’s light string products (Product Numbers 21CB2MR,

21SFB1WR, 21BU2BG, 21SKB2W, 21PU2O, and 21BU2BO) (collectively, the “Accused

Products”) infringe U.S. Patent No. 10,064,461 (the “’461 Patent”). See Doc. 1 at p. 3, ¶12. IPH

is not entitled to any relief because (i) the Accused Products do not infringe claims 1 and 8 of the

‘461 Patent, and (ii) each claim of the ‘461 Patent is fatally defective for failing to meet the

statutory requirements for novelty and non-obviousness. See Doc. 28 at p. 30.




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       This case is about light string products, a very narrow type of which is claimed by the

‘461 Patent. The United States Patent and Trademark Office (“USPTO”) awarded IPH the ‘461

Patent because it narrowed its claims to a very specific type of snap-fit connection that

sandwiches a freely-moveable light string between overlapping openings in each of a shroud and

a cap so that the path formed by the parts is “substantially straight through.” See Doc. 1-1 at

4:54-5:8, 5:30-6:32.1

       Unbeknownst to the USPTO during examination of the application that would become

IPH’s ‘461 Patent, Mr. George Tsai invented a light string that did exactly what the ‘461 Patent

allegedly innovated. His improvement in light string technology was awarded U.S. Patent No.

8,083,381 (the “‘381 Patent”) on December 27, 2011, years before the ‘461 Patent ever was

filed. See Doc. 28-1. On April 12, 2019, IPH admitted that the ‘381 Patent includes all the

limitations of ‘461 Patent Claim 1, see Doc. 24, pp. 4-5, ¶¶ 22-25, but on May 17, 2019, after

VTC filed its Amended Counterclaim and called attention to these admissions, IPH stated that its

invalidity admissions “were clearly made in error.” See Doc. 29, at p. 6, ¶ 33.

       In the face of the ‘381 Patent, IPH maintains that VTC’s Accused Products infringe at

least Claims 1 and 8 of the ‘461 Patent. But to prevail, IPH has to convince the Court that an

LED that is fixed in place by the ornament cover, as it is in the Accused Products, is nevertheless

“non-integral with and separate, apart, and removable from” the ornament cover and its top.

II.    BACKGROUND

       On December 18, 2018, IPH filed the instant lawsuit against VTC for infringement of

Claims 1 and 8 of the ‘461 Patent, but only plead with particularity how one of the Accused

Products allegedly meets Claim 1 of that patent. Doc. 1. On March 22, 2019, VTC answered the

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  This brief uses the convention “Column:line(s)” when citing to the written description in
patent documents.
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Complaint and filed its Counterclaim of non-infringement and invalidity of all claims of the ‘461

Patent. See Doc. 19. IPH answered the counterclaim on April 12, 2019. Doc. 24. On May 3,

2019, VTC filed its first Answer and Amended Counterclaim alleging non-infringement and

invalidity of all claims of the ‘461 Patent. See Doc. 28. On May 17, 2019, IPH answered the

Amended Counterclaim. Doc. 29.

       Claims 1 and 8 of the ‘461 Patent require the Accused Products have a “conductor” (e.g.,

a wire) and a light element (e.g., the LED bulb), that are “non-integral with and separate, apart

and removable from the shroud and the cap….” However, when viewing the Accused Products

in their assembled formation, the Accused Products hold the LED bulb to the ornament covers

using extensions – the complete opposite of allowing the LED bulb to be “non-integral with and

separate, apart and removable from” the ornament cover. Therefore, there can be no literal

infringement.

       Additionally, all of the ‘461 Patent’s Claims are invalid as either anticipated or obvious.

As IPH admitted in its first responsive pleading, all of the elements claimed in Claim 1 of the

‘461 Patent are in the prior art ‘381 Patent. VTC asserts that to the extent any one piece of prior

art does not provide all of the elements of a particular ‘461 Patent claim, the person of ordinary

skill in the art would be motivated to modify the ‘381 Patent based on other prior art.

       Consequently, even if there was any patent infringement, which there is not, all of the

‘461 Patent’s claims are invalid as a matter of law and there can be no relief to IPH.




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III.   ARGUMENT

       A.       Legal Standards

                1.     Motion For Judgment On The Pleadings

       In the Fourth Circuit, a motion for judgment on the pleadings pursuant to Federal Rule of

Civil Procedure 12(c) is governed by the same standards as a motion to dismiss for failure to

state a claim pursuant to Rule 12(b)(6). Burbach Broad Co. of Del. v. Elkins Radio Corp., 278

F.3d 401, 405-06 (4th Cir. 2002) (“[T]he distinction is one without difference, as we . . . apply[]

the same standard for Rule 12(c) motions as for motions made pursuant to Rule 12(b)(6).”) “To

survive a 12(b)(6) motion, a complaint must contain sufficient factual matter, accepted as true, to

state a claim to relief that is plausible on its face.” Lawson v. Miles, No. 1:11-CV-949-AJT-IDD,

2012 U.S. Dist. LEXIS 110982, at *5 (E.D. Va. Aug. 6, 2012) (Trenga, J.) (quotations omitted).

       In evaluating a Rule 12(c) motion, a court may consider the complaint, the answer,

matters of public record whose authenticity is not in dispute, and exhibits attached to the

complaint or answer so long as they are “integral to the complaint and authentic.” Massey v.

Ojaniit, 759 F.3d 343, 347 (4th Cir. 2014); Philips v. Pitt County Mem’l Hosp., 572 F.3d 176,

180 (4th Cir. 2009). This includes any patents attached to the pleadings. See, e.g., Phillips v.

Pitt County Mem. Hosp., 572 F.3d 176, 180 (4th Cir. 2009). Where a plaintiff attaches

documents relied upon to form the basis for a claim, dismissal is appropriate when the document

negates the claim. See, e.g., Little v. Bank of America, 769 F. Supp. 2d 954, 963 (E.D. Va. 2011).

Here, the ’461 Patent, which is attached to and incorporated into the Complaint, is not infringed

and is invalid as a matter of law and thus negates IPH’s infringement claims. Further, the prior

art that invalidates the ‘461 Patent is attached to and incorporated into the First Amended

Counterclaim.


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               2.     Patent Infringement

       A determination of patent infringement requires a two-step analysis: (i) construing the

meaning of the claim language, and (ii) comparing the claim as construed to the accused device.

Markman v. Westview Instruments, Inc., 52 F.3d 967, 976 (Fed. Cir. 1995) (en banc). Proper

claim construction entails an analysis of a patent record’s intrinsic evidence—the claim

language, the written description, and the prosecution history. Phillips v. AWH Corp., 415 F.3d

1303, 1314 (Fed. Cir. 2005) (en banc).

       Infringement is shown where a patentee proves that each and every limitation of the

asserted claim is literally met by the accused device.2 Enercon v. Int’l Trade Comm’n, 151 F.3d

1376, 1384 (Fed. Cir. 1998); Amhil Enters. Ltd. v. Wawa, Inc., 81 F.3d 1554, 1562 (Fed. Cir.

1996) (literal infringement occurs when “the properly construed claim reads on the accused

device exactly”). The failure to meet even a single element or limitation of a claim mandates a

finding that the accused product does not infringe the patent. Laitram Corp. v. Rexnord, Inc.,

939 F.2d 1533, 1535 (Fed. Cir. 1991).

       In evaluating whether a product infringes a patent, the fact finder first looks to whether

the product or process infringes the independent claims because, as the Federal Circuit has

observed, where a product or process does not infringe an independent claim, it cannot as a

matter of law infringe any (dependent) claim that depends on the independent claim. Wahpeton

Canvas Co. v. Frontier, Inc., 870 F.2d 1546, 1552 n. 9 (Fed. Cir. 1989); Streamfeeder, LLC v.

Sure-Feed Sys., Inc., 175 F.3d 974, 985 (Fed. Cir. 1999).




2
  IPH has never pled that either Claim 1 or Claim 8 of the ‘461 Patent is infringed under the
doctrine of equivalents. See Doc. 1 at pp. 4-7, ¶¶ 17-27.
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               3.      Patent Invalidity

       The presumption of a patent’s validity under 35 U.S.C. §282 is rebuttable. Sciele Pharma

Inc. v. Lupin Ltd., 684 F.3d 1253, 1260 (Fed. Cir. 2012). Invalidity must be proven by clear and

convincing evidence. Microsoft Corp. v. i4i Ltd. Partnership, 131 S.Ct. 2238, 2245-46 (2011).

However, evidence bearing on patentability that the USPTO did not previously consider “may

‘carry more weight’ … than evidence previously considered … and may ‘go further toward

sustaining the attacker’s unchanging burden.’” Id. at 2251. “[I]f the PTO did not have all

material facts before it, its considered judgment may lose significant force” and the burden to

prove invalidity may “be easier to sustain.” Id.

                       a)      Anticipation

       A reference anticipates a patent claim under 35 U.S.C. § 102(b) if every claim limitation

is present in the reference. See Verizon Servs. Corp. v. Cox Fibernet Va., Inc., 602 F.3d 1325,

1336–37 (Fed. Cir. 2010). A reference may anticipate inherently if a claim limitation that is not

expressly described, “is necessarily present, or inherent, in the single anticipating reference.” Id.

at 1337 (quoting Schering Corp. v. Geneva Pharm., Inc., 339 F.3d 1373, 1377 (Fed. Cir. 2003)).

“[A]nticipation is a question of fact, including whether an element is inherent in the prior art.” In

re Gleave, 560 F.3d 1331, 1334–35 (Fed. Cir. 2009).

       Anticipation challenges under §102 must focus on the actual claim limitations, and

“limitations … not found anywhere in the claims” are irrelevant to anticipation. See Constant v.

Adv. Micro-Devices, Inc., 848 F.2d 1560, 1570-71 (Fed. Cir. 1988).

                       b)      Obviousness

       Obviousness is a question of law with underlying factual findings relating to the scope

and content of the prior art, differences between the prior art and the claims at issue, the level of


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ordinary skill in the pertinent art, the presence or absence of a motivation to combine or modify

with a reasonable expectation of success, and any objective indicia of non-obviousness. Acorda

Therapeutics, Inc. v. Roxane Labs., Inc., 903 F.3d 1310, 1328 (Fed. Cir. 2018) (citing KSR Int’l

Co. v. Teleflex Inc., 550 U.S. 398, 406 (2007)); Ariosa Diagnostics v. Verinata Health, Inc., 805

F.3d 1359, 1364 (Fed. Cir. 2015). However, even a clear showing of secondary considerations

of non-obviousness cannot overcome a strong prima facie case of obviousness. Leapfrog

Enters., Inc. v. Fisher-Price, Inc., 485 F.3d 1157, 1162 (Fed. Cir. 2007); Agrizap, Inc. v.

Woodstream Corp., 520 F.3d 1337, 1344 (Fed. Cir. 2008).

        “[W]hen a patent claims a structure already known in the prior art that is altered by the

mere substitution of one element for another known in the field, the combination must do more

than yield a predictable result.” KSR, 550 U.S. at 416. Furthermore, with respect to “a patent

based on the combination of elements found in the prior art,” “[s]uch a combination of familiar

elements according to known methods is likely to be obvious when it does no more than yield

predictable results.” 550 U.S. 398 at 415-16.

        B.      The ‘461 Patent Is Not Infringed

        Of the eight claims in the ‘461 Patent, only Claims 1 and 8 are independent. See Doc. 1-1

at 4:54-5:8, 5:30-6:32. Therefore, every limitation required by Claim 1 is incorporated into

Claims 2-7. Wahpeton, 870 F.2d at 1552 n. 9; Streamfeeder, 175 F.3d at 985. Claims 1 and 8,

i.e., all claims in the ‘461 Patent, require inter alia, the following:

       “the conductor and light element are non-integral with and separate , apart and removable
        from the shroud and the cap…,” (Claim 1); and
       “the conductor and the plurality of LED light elements are non-integral with and
        separate, apart and removable from respective ones of their shrouds and caps.” (Claim 8)

Doc. 1-1 at 5:5-7; 6:29-32. While the Court must construe Claims 1 and 8 in the light most

favorable to IPH, VTC advocates that the limitation “the conductor and light element are non-

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integral with and separate, apart and removable from the shroud and the cap,” should require at a

minimum, “the conductor and light element are free from restraint by any parts or

components of the shroud or the cap when the shroud and cap are connected and

disconnected from one another.”

               1.      Support for VTC’s Construction

       Beginning with its specification, the ‘461 Patent discloses “a light string assembly

configuration that eliminates the need for fasteners and in particular, metal fasteners.” Doc. 1-1

at 1:42-44. Figures 1 and 4 provide further evidence related to the construction of this claim

limitation. Figure 1 of the ‘461 Patent illustrates a conductor (18) and light element (16) being

completely free of either the cap or the shroud (30) when the product is an unassembled state.

Figure 4 illustrates a shroud with a neck (34) that has a circular opening without any obstructing

structures so that light element (16) can fit in that opening without resistance by the shroud:




       The Federal Circuit encourages courts to look to the prosecution history of the patent

because “[a]ny explanation, elaboration, or qualification presented by the inventor during patent

examination is relevant….” Fenner Invs., Ltd. v. Cellco P’ship, 778 F.3d 1320, 1323 (Fed. Cir.

2015). Prosecution history statements can “demonstrate[e] how the inventor understood the

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invention and whether the inventor limited the invention in the course of prosecution, making

the claim scope narrower than it would otherwise be.” Phillips, 415 F.3d at 1317.

       During prosecution of the patent application that matured into the ‘461 Patent, IPH

argued that the prior art did not anticipate its then-pending independent claims because:

       The conductor and light element are non-integral with and separate, apart

       and removable from the shroud and the cap. That is, the light element

       (LED) mounted on the conductor can be removed from the shroud and the

       cap. Unlike the device of Myson in the presently claimed light string, the

       conductor and light element are separate elements from the cap. That is

       the light element and conductor are a complete and independent unit (from

       the cap and shroud) that is fitted into the cut-outs in the shroud.

Farco Decl. Exh. A (‘461 Patent Prosecution History, July 10, 2017 Amendment B, pp. 5-6).

       Subsequently, the patent examiner cited U.S. Patent No. 6,648,492 to Shih to show this

limitation, and thereby evidence what it means to a person of ordinary skill in the art:




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 Farco Decl. Exh. B (‘461 Patent Prosecution History, January 19, 2018 Non-Final Office Action,

 p. 3 (citing Figure 4 of Shih Patent)).3 Furthermore, the Patent Examiner in the Reasons for

 Allowance stated:

        As Shih was the only prior art discovered by the Examiner that taught the

        cooperating cutouts along with the other recited features (the conductor,

        light element, shroud, the neck, cap, non-integral design – which is critical

        in the instant case), as recited by the applicant, in the relevant art, the

        instant application is allowable as Shih is not modifiable by a secondary

        reference.

 Farco Decl. Exh. C (‘461 Patent Prosecution History, July 13, 2018 Notice of Allowability, p.

 3).

        Therefore, any construction advocated by IPH on this motion should contain at least the

 construction proposed by VTC.

                2.     The Conductor and Light Element of the VTC Accused Product Do
                       Not Satisfy The “Non-Integral With And Separate, Apart And
                       Removable From The Shroud And The Cap” Limitation

        As can be seen in Figure 2 of the First Amended Counterclaim (Doc. 28 at pp. 8-9, ¶10,

 reproduced below), the white arrows identify plastic extensions in the neck of the VTC Accused

 Product which are used to hold the light element when the ornament cover is assembled.




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   Statements by a patent examiner during prosecution may be evidence of how one of ordinary
 skill understood a claim limitation. See Salazar v. Procter & Gamble Co., 414 F.3d 1342, 1347
 (Fed. Cir. 2005).
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 As a result, the neck of the VTC Accused Products restrains the light inside the ornament cover

 using tabbed structures extending radially-inward from the neck towards the opening for the

 light. Therefore, the VTC Accused Products do not literally infringe any of the ‘461 Patent

 claims for failing to meet the limitation “the conductor and light element are non-integral with

 and separate, apart and removable from the shroud and the cap.”

        C.      All Claims Of The ‘461 Patent Are Invalid

        IPH will not dispute that the ‘461 Patent’s earliest effective filing date is August 27,

 2015, which makes the ‘461 Patent subject to the rules in place following the American Invents

 Act (“AIA”). According to those rules, the invalidity of the ‘461 Patent is based upon its earliest

 effective filing date. See 35 U.S.C. §§ 102(a) and 103(a) (2018). The ‘381 Patent, which issued

 on December 27, 2011, was “patented … before the effective filing date of the claimed

 invention,” and therefore is prior art to the ‘461 Patent under 35 U.S.C. § 102(a)(1).4



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   The ‘381 Patent was never considered by the USPTO during prosecution of the application
 that became the ‘461 Patent. Thus, the ‘381 Patent is “evidence bearing on patentability that the
 USPTO did not previously consider” and “may ‘carry more weight’ … than evidence previously
 considered … and may ‘go further toward sustaining the attacker’s unchanging burden.’”
 Microsoft, 131 S.Ct. at 2251 (“[I]f the PTO did not have all material facts before it, its
 considered judgment may lose significant force,” and burden to prove invalidity may “be easier
 to sustain.”)
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                1.      The ‘381 Patent Includes All Limitations Of Claim 1

        Claim 1 of the ‘461 Patent recites:

                A light string with a snap-fit enclosure, comprising:

                a conductor; a light element mounted to the conductor; a shroud

        having a body having an open interior and a neck, the neck having an

        opening therein, open to the body interior; a cap, the configured to fit onto

        the neck; and

                cooperating locking elements positioned in the cap and on the neck

        to lock the cap to the neck, such that the cap is secured to the neck and the

        light element secured within the shroud without the need for an external

        fastener, wherein the cap and the neck have at least two cut-outs formed

        therein, respective ones of the cap cut-outs and the neck cut-outs

        cooperating and aligning with one another to define a substantially

        straight-through path, the substantially straight-through path configured to

        receive the conductor with the cap secured to the neck,

                wherein the conductor and light element are non-integral with and

        separate, apart and removable from the shroud and the cap, and wherein

        the shroud is substantially enclosed.

 Doc. 1-1 at 4:54- 5:8. IPH admitted that the ‘381 Patent includes each and every limitation of

 Claim 1 of the ‘461 Patent. See, e.g., Doc. 24, pp. 4-5, ¶¶ 22-25. Below are figures from the

 ‘381 Patent which have been annotated to show satisfaction of each and every limitation of

 Claim 1:




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 Doc. 28-1, Figs. 3, 4, and 6 (annotations supplied). See also Doc. 28-1 at 1:63-64, 2:9-42, 2:66 –

 3:22, 3:25-29; Figs. 2-6 (annotations supplied).

        As shown above, the ‘381 Patent discloses “[a] light string with a snap-fit enclosure,

 comprising: a conductor; a light element mounted to the conductor; a shroud having a body

 having an open interior and a neck, the neck having an opening therein, open to the body

 interior; a cap …; and cooperating locking elements positioned in the cap and on the neck to

 lock the cap to the neck.” See also Doc. 28-1 at 3:56 – 4:58 (Claims 1-2 and 16-17).




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        As shown above, the ‘381 Patent discloses, “the cap is secured to the neck and the light

 element secured within the shroud without the need for an external fastener.” See also Doc. 28-1

 at 3:56 – 4:58, Claims 1-2 and 16-17.

        As shown above, the ‘381 Patent discloses, “the cap and the neck have at least two cut-

 outs formed therein, respective ones of the cap cut-outs and the neck cut-outs cooperating and

 aligning with one another to define a substantially straight-through path … configured to receive

 the conductor with the cap secured to the neck.” See Doc. 28-1 at 1:60-62; see also Doc. 28-1 at

 3:56 – 4:58, Claims 1-2 and 16-17; Figs. 2 and 5.

        As shown above, the ‘381 Patent discloses, “the conductor and light element are non-

 integral with and separate, apart and removable from the shroud and the cap,” and “the shroud is

 substantially enclosed.” See id. at Figs. 2-3.

        Consequently, the ‘381 Patent discloses each and every limitation of Claim 1, thereby

 anticipating Claim 1 as a matter of law. Verizon Servs., 602 F.3d at 1336–37.

                2.      The ‘381 Patent Includes All Limitations Of Claim 2

        Claim 2 of the ‘461 patent requires the limitations of Claim 1 of the patent in addition to

 requiring “the light element is an LED.”

        The ‘381 Patent discloses a light element that is an LED. See Doc. 28-1 at 2:31-34, see

 also id. at 3:56 – 4:64 (Claims 1-20 reciting “A holiday light with LED…”). Consequently, the

 ‘381 Patent discloses each and every limitation of Claim 2, thereby anticipating Claim 2 as a

 matter of law. Verizon Servs., 602 F.3d at 1336–37.




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                3.      The ‘381 Patent Includes All Limitations Of Claim 3

        Claim 3 of the ‘461 patent requires the limitations of Claim 1 of the patent in addition to

 also requiring “the cooperating locking elements include a ramped surface and a lip on one of

 both of the cap and the neck.”

        The ‘381 Patent discloses and illustrates “cooperating locking elements” that “include a

 ramped surface and a lip on one of both of the cap and the neck,” as shown below:




 Doc. 28-1 at 3:6-22, 4:7-16, 4:55-56 (Claims 2 and 17); Fig. 4 (annotations supplied).

        The ‘381 Patent illustrates the following surfaces as shown as exploded views of an

 annotated version of its Figure 4:

 Cap Locking Element          Cap Locking        Neck Locking Element           Neck Locking
 Ramped Surface (blue)      Element Lip (red)    Ramped Surface (green)      Element Lip (orange)




        Because the ‘381 Patent discloses each and every limitation of Claim 3, Claim 3 is

 anticipated by the ‘381 Patent as a matter of law. Verizon Servs., 602 F.3d at 1336–37.




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                 4.      The ‘381 Patent Includes All Limitations Of Claim 4

          Claim 4 of the ‘461 patent requires the limitations of Claim 1 of the patent in addition to

 also requiring, “the neck includes four cuts-outs to define four sections, and wherein at least two

 of the sections include a ramped surface and a lip and wherein the cap includes corresponding

 ramped surfaces and lips to cooperate with and engage the ramped surfaces and lips of the

 neck.”

          As shown below in its annotated Figure 2, the ‘381 Patent discloses a “neck” that

 “includes four cuts-outs to define four sections [aligned at 90 degrees from each other], and

 wherein at least two of the sections include a ramped surface and a lip and wherein the cap

 includes corresponding ramped surfaces and lips to cooperate with and engage the ramped

 surfaces and lips of the neck…”:




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        As shown in the annotated drawing above, the ‘381 Patent discloses each and every

 limitation of Claim 4, thereby anticipating Claim 4 as a matter of law. Verizon Servs., 602 F.3d

 at 1336–37.

                5.      The ‘381 Patent Includes All Limitations Of Claim 6

        Claim 6 of the ‘461 patent requires the limitations of Claim 1 of the patent in addition to

 also requiring, “at least three light elements mounted to the conductor spaced from one another,

 each light element enclosed within a shroud and secured therein by a cap.”

        The ‘381 Patent discloses and illustrates “at least three light elements mounted to the

 conductor spaced from one another, each light element enclosed within a shroud and secured

 therein by a cap,” as shown below:




        As shown in the annotated drawing above, the ‘381 Patent discloses each and every

 limitation of Claim 6, thereby anticipating Claim 6 as a matter of law. Verizon Servs., 602 F.3d

 at 1336–37.

                6.      Claims 5 and 7 Are Obvious Over The ‘381 Patent Because The Only
                        Difference Between Them And The ‘381 Patent Is A Battery-Powered
                        Controller And Switch

        Claim 5 of the ‘461 patent requires the limitations of Claim 1 of the patent in addition to

 also requiring “a controller, the controller including one or more batteries and a switch.” See

 Doc. 1-1 at 5:20-21. Claim 7 of the ‘461 patent requires the limitations of Claim 6 of that patent,

 while also requiring, “a controller, the controller including one or more batteries and a switch,

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 the controller including circuitry to control a lighting scheme of the light elements.” See Doc. 1-

 1 at 5:26-29.

                          a)      The Scope And Content Of The Prior Art

           There is other prior art aside from the ‘381 Patent relevant to this inquiry on this motion:

                 U.S. Patent No. 7,036,962 (the “‘962 Patent”), which was patented on May 2,

 2006 and qualifies as prior art to the ‘461 Patent under 35 U.S.C. § 102(a)(1), discloses inter alia

 a light string controller and switch that uses a battery for the switch. See Doc. 28-2 at 5:19-23;

 Fig. 5.

                 U.S. Patent Application Publication No. 2009/0161372 (the “‘372 Publication”),

 which was published on June 25, 2009 and qualifies as prior art to the ‘461 Patent under 35

 U.S.C. § 102(a)(1), discloses inter alia equally circumferentially-spaced cut-outs for a neck and

 a cap for light strings. Doc. 28-3 at ¶ [0034]; Figs. 2 & 6.5

                 U.S. Patent Application Publication No. 2005/0117339 (the “‘339 Publication”),

 which was published on June 2, 2005 and qualifies as prior art to the ‘461 Patent under 35

 U.S.C. § 102(a)(1), discloses inter alia an illuminating light string arrangement 1 with a control

 unit 30 that can be powered in one of two ways: (i) a power device 40, which is a connector to

 an external power source (e.g., plug-in); or (ii) power device 40′, which is embodied as a battery

 case having a predetermined number of DC batteries. See Doc. 28-4, ¶¶ [0046], [0051]; Figs.

 3A, 4.6

                 U.S. Patent No. 7,178,930 (the “‘930 Patent”), which was patented on February

 20, 2007 and qualifies as prior art to the ‘461 Patent under 35 U.S.C. § 102(a)(1), discloses inter

 5
   Like the prior art ‘381 Patent, this prior art reference was never considered by the USPTO
 during prosecution of the ‘461 Patent. See, e.g., note 4 supra.
 6
   Like the prior art ‘381 Patent, this prior art reference was never considered by the USPTO
 during prosecution of the ‘461 Patent. See, e.g., note 4 supra.
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 alia a light string controller and switch that uses a plurality of batteries. Doc. 28-5 at 5:1-5, 5:43-

 57; Figs. 4 & 10 (item 70- battery housing).7

                International Patent Application Publication No. WO98/43014 (the “‘014

 Publication”), which was published on October 1, 1998 and qualifies as prior art to the ‘461

 Patent under 35 U.S.C. § 102(a)(1), discloses inter alia a string of LED light emitting devices

 11/112 electrically connected to a DC battery 17/113 connected to an inverter/controller 21/111

 and timer 29 used to provide differing optical effects. See Doc. 28-6, p. 3, lines 1-3, p. 7, line 8-

 9, p. 7, line 20 – p. 9, line 21, p. 12, line 1 – p. 13, line 7; Figs. 1, 5.8

                The ‘461 Patent itself admits that light strings can be used as necklaces when

 their bulbs are LEDs, implying that they are not powered by external sources.9 See Doc. 1-1 at

 1:11-19 (“Light strings or string lights are typically outdoor ornamental devices that include a

 plurality of lights that are powered and hung from shielded or insulated wires. These devices can

 also be used, as, for example, a necklace, when the ends of the string are secured to one

 another.”)

                          b)      The Level Of Ordinary Skill In The Pertinent Art

         VTC asserts that the level of ordinary skill in the art related to the ‘461 Patent is one that

 would permit a skilled artisan to modify the prior art in the manner identified by the USPTO

 during prosecution of the application that matured into the ‘461 Patent:




 7
    Like the prior art ‘381 Patent, this prior art reference was never considered by the USPTO
 during prosecution of the ‘461 Patent. See, e.g., note 4 supra.
 8
    Like the prior art ‘381 Patent, this prior art reference was never considered by the USPTO
 during prosecution of the ‘461 Patent. See, e.g., note 4 supra.
 9
    Despite this admission in its own patent, IPH still would not admit that “[b]atteries for light
 string controller switches were already known in the prior art” and that “[l]ight strings that rely
 on battery power are in the prior art.” See Doc. 29 at 8-9, ¶¶ 54, 72.
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        It would have been obvious to one of ordinary skill in the art at the time of

        filing to install the controller, battery, and switch of [one prior art

        reference] into the lamp of [another prior art reference] in order to allow

        the lamp to provide a variety of lighting effects, to allow the lamp to be

        powered without an external power supply, and to allow for the lamp to

        be turned on and off.

 Farco Decl. Exh. B at pp. 5, 8 (emphasis added). Neither IPH nor its representative ever

 disputed this level of ordinary skill in the art. See Farco Decl. Exh. D (May 15, 2018 Applicant

 Initiated Interview Summary), Farco Decl. Exh. E (May 15, 2018, Amendment C, pp. 7-8).

        Thus, the person of ordinary skill in the art is one who would be able to modify a prior

 art light string that was powered by external power to be powered “without an external power

 supply.”

                        c)      Differences Between The Prior Art And The Claims At Issue

        The ‘381 Patent discloses a controller with a switch to control the lights of the light

 string to effect a lighting scheme. See Doc. 28-1 at 1, lines 40-42; Col. 2, lines 31-34, Col. 3,

 lines 30-41 (IC controller 60 to control LEDs (22) to “light according to a program for aesthetic

 effects, for instance, light synchronously with a same color, light gradually with different colors”

 and otherwise “provide[] various lighting effects”); Figure 7, item 60.




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            Thus, the difference between the ‘381 Patent and claims 5 and 7 of the ‘461 Patent is that

 the ‘381 Patent discloses a light string whose LEDs rely on external AC power via a transformer

 to power the IC controller and switch both of which being used to provide various lighting

 effects.

                           d)     Motivation Exists To Modify The ‘381 Patent To Use Batteries
                                  With Its Controller And Switch

            There is clear and convincing evidence that a person having the level of ordinary skill in

 the art (in §III.C.6(b)) who was in possession of the scope and content of the prior art (in

 §III.C.6(a)) would be motivated as of the effective filing date of the ‘461 Patent to modify the

 ‘381 Patent so that its IC controller and switch would be powered by at least one battery instead

 of an external AC power supply via a transformer. As the prior art shows, that person of

 ordinary skill in the art would be able to modify the ‘381 Patent so that its IC controller and

 transformer would be powered by a battery instead of an external power supply with a

 reasonable expectation of success.

            Any of the light string controller and switches which rely on battery power and are

 disclosed in the prior art ‘339 Publication, the prior art ‘014 Publication, the prior art ‘962

 Patent, and the prior art ‘930 Patent can be installed in place of the ‘381 Patent’s IC controller


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 and transformer without any change in the result, i.e., powering the light string and powering the

 controller and switch to instruct programmed lighting schemes. See KSR, 550 U.S. at 416

 (“when a patent claims a structure already known in the prior art that is altered by the mere

 substitution of one element for another known in the field, the combination must do more than

 yield a predictable result.”) This installation of a controller with a switch and one or more

 batteries from the prior art ‘339 Publication, ‘014 Publication, ‘962 Patent, and/or ‘930 Patent

 into the light string disclosed in the prior art ‘381 Patent was within the level of ordinary skill in

 the art. See Farco Decl. Exh. B at pp. 5, 8 (“[i]t would have been obvious to one of ordinary

 skill in the art at the time of filing to install the controller, battery, and switch of [one prior art

 reference] into the lamp of [another prior art reference] in order to … allow the lamp to be

 powered without an external power supply….”)

         As shown by the ‘339 Publication, the use of a battery to power the IC controller and

 switch in the ‘381 Patent would have been obvious to try because the problem of powering a

 light string has a limited number of (in this case two) identified, predictable solutions:

         The power device is preferably embodied as a regular AC-DC transformer

         electrically connecting between the light String and a regular AC power

         Supply So as to convert AC power to DC and supply the DC to the control

         unit 30 for use by the illuminators 13 of the illuminating units 10.

 See Doc. 28-4 at ¶ [0046]; Fig. 3A.

         According to the preferred embodiment, the power device 40' is embodied

         as a battery case electrically connected with the control unit 30' wherein

         the battery case is adapted to receive a predetermined number of, Such as




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        four, DC batteries for providing electric power to the illuminating units

        10'.

 See Doc. 28-4 at ¶ [0051]; Fig. 4.

         Therefore, by referring to the teachings and suggestions of the ‘339 Publication, the

 person of ordinary skill in the art had more than sufficient reason to pursue the two options for

 powering light strings (external AC power or battery power), substitute the battery-powered

 controller and switch for the external AC-powered controller and switch of the ‘381 Patent, and

 in making that substitution have a reasonable expectation of success. See KSR, 550 U.S. at 421.

        Consequently, Claims 5 and 7 of the ‘461 Patent are obvious over the ‘381 Patent in view

 of one or more of the ‘339 Publication, ‘014 Publication, ‘962 Patent, and/or ‘930 Patent,

 because there is a reasonable expectation of success in modifying or substituting the transformer

 and IC controller of the ‘381 Patent to be powered by batteries instead of external AC power.

                7.      Claim 8 Is Obvious Over The ‘381 Patent For Similar Reasons As
                        Claims 1-7

                        a)     The ‘381 Patent Discloses Substantially All Of Claim 8’s
                               Limitations

        Claim 8 of the ‘461 Patent is the only other independent claim of the ‘461 Patent. As

 provided below, those limitations of Claim 8 that are present in the ‘381 Patent for the reasons

 provided in §§III.C.1-5 have been given emphasis by bold and italics:

                a conductor;

                a plurality of LED light elements mounted to the conductor;

                a controller, the controller including one or more batteries and a

        switch, the controller including circuitry to control a lighting scheme of

        the LED light elements;


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                a plurality of shrouds, each shroud being substantially enclosed

        and having a body having an open interior and a neck, the neck having

        an opening therein, open to the body interior, the neck having four cut-

        outs formed therein equally circumferentially spaced from one another

        to define four sections, two opposing cut-outs configured to receive the

        conductor, such that the conductor is recessed from an end of the neck;

                a plurality of caps, each cap configured to fit onto the neck of a

        respective one of the plurality of shrouds, each cap having at least two

        cut- outs therein cooperating with the cut-outs in the neck such that

        when the cap is positioned on the neck, the cut-outs in the neck and the

        cut-outs in the cap define a substantially straight through path for

        passage of the conductor; and

                cooperating locking elements positioned in the cap and on the

        neck to lock the cap to the neck with the conductor positioned in the

        straight- through path, such that the cap is secured to the neck and the

        LED light element secured within the shroud without the need for an

        external fastener, the cooperating locking elements including a ramped

        surface and a lip on one or both of the cap and the neck, and wherein

        the conductor and the plurality of LED light elements are non-integral

        with and separate, apart and removable from respective ones of their

        shrouds and caps.

 Doc. 1-1 at 5:30 – 6:32. Thus, the only limitation not expressly disclosed in the ‘381 Patent is a

 “controller including one or more batteries.”


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                        b)     The “Controller Including One Or More Batteries” Limitation
                               Is Obvious Over The ‘381 Patent

        Like claims 5, 6, and 7 of the ‘461 Patent previously discussed, Claim 8 also recites a

 “controller” that “include[s] one or more batteries….” For the same reasons provided in §

 III.C.6, supra, the “controller including one or more batteries” limitation of Claim 8 would be

 obvious over the ‘381 Patent in view of one or more of the ‘339 Publication, ‘014 Publication,

 ‘962 Patent, and/or ‘930 Patent.

                        c)     In The Event The ‘381 Patent Does Not Show The “Neck
                               Having Four Cut-Outs Formed Therein Equally
                               Circumferentially Spaced From One Another To Define Four
                               Sections,” Limitation, That Limitation Is Obvious Over The
                               ‘381 Patent

        To the extent IPH contends that the cut-outs in the neck of the shroud disclosed in the

 ‘381 Patent are not “equally circumferentially spaced from one another,” VTC asserts that such a

 limitation would have been obvious over the ‘381 Patent in view of the ‘372 Publication.

        The ‘372 Publication discloses and teaches a “perimeter of the socket cover 20 is

 partitioned to include ribs 28 and notches 30 for facilitating mounting thereof to the socket base

 14. Particularly, snap latches 32 from the perimeter of the socket base 14 are used to latch onto

 the corresponding notches 30 of the socket cover 20 to insure positive assembly thereof and

 prevent wire strain.” Doc. 28-3 at ¶ [0034]; Figs. 2 & 6.




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        To take the four cut-outs in the ‘381 Patent and make them equally circumferentially-

 spaced about the neck would be achieved with a reasonable expectation of success by a person

 of ordinary skill in the art. The motivation for such a modification to the ‘381 Patent is provided

 for in the ‘372 Publication, and includes the goal of “insur[ing] positive assembly thereof and

 prevent[ing] wire strain.” Id. During prosecution of the application that became the ‘461 Patent

 in the USPTO, IPH argued that its claims avoided the prior art by avoiding strain on the wire via

 tortuous paths through the neck:




        [A]s shown in the reproduced portion of Shih FIG. 2, referring to the left-

        hand side of the conductor, which appears to be 22, the conductor takes a

        sharp upward turn as it enters the space between the cap (30) and the

        peripheral wall (11), as it traverses to a circuit board (20). As such, there


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        is no “straight-through path configured to receive the conductor with the

        cap secured to the neck.” Instead, Shih has a rather tortuous path through

        which any conductor must pass.

 Farco Decl. Exh. E at p. 6.

        Therefore, there is motivation to modify the ‘381 Patent with the ‘372 Publication to

 achieve four cut-outs that are equally circumferentially-spaced about the neck and cap.

 IV.    CONCLUSION

        The non-infringement of the invalid ’461 patent attached to IPH’s complaint (Docs. 1, 1-

 1) negates IPH’s claim for relief and otherwise warrants that judgment against IPH be made on

 the pleadings in this case, including all the prior art attached and incorporated into the First

 Amended Counterclaim.

        Accordingly, the Court should enter an order dismissing IPH’s claims of infringement of

 the ‘461 Patent by VTC and entering judgment of patent invalidity and non-infringement on th

 pleadings.

 Dated: May 23, 2019                            Respectfully submitted,

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                              CERTIFICATE OF SERVICE

        I hereby certify that on the 23rd day of May 2019, a true and complete copy of the
 foregoing was filed through the Court’s CM/ECF system, which has served a copy on all
 counsel of record.

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